     CASE 0:11-cr-00305-DSD-LIB         Doc. 1305   Filed 02/05/16     Page 1 of 2



                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                       Criminal No.: 11-305(15)(DSD/LIB)

United States of America,

                      Plaintiff,

v.                                                                   ORDER

Veronique ZsaZsa Antique Muckle,

                      Defendant.


     Andrew S. Dunne, United States Attorney’s Office, 300 South 4th
     Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     Veronique Muckle, #16068-041, FCI Aliceville, P.O. Box 4000,
     Aliceville, Al 35442, defendant pro se.


     This matter is before the court upon the motion by defendant

Veronique ZsaZsa Antique Muckle to reduce her sentence pursuant to

18 U.S.C. § 3582(c)(2).            On February 2, 2012, defendant pleaded

guilty    on    Count    2   of   the   Indictment    alleging        conspiracy     to

distribute oxycodone, oxymorphone, and heroin, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(C), and 846.                     The court sentenced

defendant on August 6, 2012, to 52 months’ imprisonment, followed

by three years of supervised release.                  In doing so, the court

varied downward from the applicable guidelines range of 70-87

months.    Defendant now moves for a reduction in her total sentence

pursuant       to    Amendment    782   of   the    United    States      Sentencing

Guidelines.         The government opposes the motion on the ground that

the court’s departure from the applicable guidelines range at

sentencing precludes application of the amendment in this case.
     CASE 0:11-cr-00305-DSD-LIB     Doc. 1305      Filed 02/05/16   Page 2 of 2



The court agrees.

      The    court   may   modify   a   term    of     imprisonment      when     the

Sentencing Commission subsequently lowers a sentencing range.                      18

U.S.C. § 3582(c).      In 2014, the Sentencing Commission promulgated

Amendment 782, which retroactively reduces the base offense level

for many drug offenses by two levels.                See U.S.S.G. §§ 1B1.10,

2D1.1(c); id. app. C, amend. 782. However, the two-level reduction

is not applicable, where, as here, a below-guideline sentence was

imposed for reasons other than substantial assistance:                      “[T]he

court shall not reduce the defendant’s term of imprisonment under

18 U.S.C. § 3582(c)(2) and this policy statement to a term that is

less than the minimum of the amended guideline range[.]”                  U.S.S.G.

§   1B1.10(b)(2)(A).        Consistent      with     this    policy    statement,

defendant’s potential sentencing reduction is limited to the bottom

of her amended guideline range, which is 57 months. Having already

sentenced defendant below that range, the court lacks the authority

to further reduce her sentence.

      Accordingly, based on the above, IT IS HEREBY ORDERED that the

motion for sentence reduction pursuant to 18 U.S.C. § 3582(c) [ECF

No. 1187] is denied.



Dated:      February 5, 2016.

                                            s/David S. Doty
                                            David S. Doty, Judge
                                            United States District Court


                                        2
